                    UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                       WINSTON-SALEM DIVISION




FEDERAL TRADE COMMISSION,
STATE OF CALIFORNIA, STATE OF
COLORADO, STATE OF ILLINOIS,
STATE OF INDIANA, STATE OF IOWA,
STATE OF MINNESOTA, STATE OF                     Case No. 1:22-cv-00828-TDS-JEP
NEBRASKA, STATE OF OREGON,
STATE OF TENNESSEE, STATE OF
TEXAS, STATE OF WASHINGTON, and
STATE OF WISCONSIN,                              [JOINT PROPOSED]
                                                 SCHEDULING ORDER
               Plaintiffs,
        v.
SYNGENTA CROP PROTECTION AG,
SYNGENTA CORPORATION,
SYNGENTA CROP PROTECTION, LLC,
and CORTEVA, INC.,
               Defendants.



       Following an Initial Pretrial Conference held on April 18, 2024, the Court orders

as follows:

       1.     Discovery Plan.

              a.     Case Management Track. The case management track (as modified

below) is that designated in LR 26.1(a) as Exceptional, with further extended discovery

limitations in certain instances as reflected below and in the attached case schedule

(found at Exhibit A).




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                     i.      Depositions.

                           A.       Plaintiffs may take up to 30 depositions of third-party

witnesses, not including former employees of Defendants Corteva, Inc. (“Corteva”),

Syngenta Crop Protection AG, Syngenta Corp., or Syngenta Crop Protection, LLC

(together, “Syngenta”).

                           B.       Defendants may take up to 30 depositions of third-

party witnesses.

                           C.       Plaintiffs may take up to 15 depositions of Syngenta

and up to 15 depositions of Corteva.

                           D.       The Parties may further depose witnesses whose

testimony was taken in investigational hearings during the FTC’s pre-complaint

investigation, with any such depositions to count against the number of depositions

described above.

                           E.       Depositions of the Parties’ designated expert witnesses

do not count against the above deposition limits.

                    ii.      Interrogatories. Syngenta and Corteva may each serve up to

30 interrogatories, including discrete subparts, to the Plaintiffs collectively.

Correspondingly, Plaintiffs collectively may serve up to 30 interrogatories, including

discrete subparts, to each of Syngenta and Corteva.

                   iii.      Requests for Admission. Syngenta and Corteva may each

serve up to 30 requests for admission to the Plaintiffs collectively. Correspondingly,


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Plaintiffs collectively may serve up to 30 requests for admission to each of Syngenta and

Corteva.

                   iv.      Schedule. The Court orders the schedule set out in

Attachment A.

                   v.       Rule 26 Disclosures. Reports required by Rule 26(a)(2)(B)

and disclosures required by Rule 26(a)(2)(C) (as modified herein) shall be due during the

discovery period as set forth in Exhibit A. Supplementations shall be as provided in Rule

26(e) or as otherwise ordered by the Court.

        2.    Mediation. The Parties shall engage in mediation to be concluded by

October 2, 2025. If the Parties are unable to agree on a mediator, the Court will appoint

one.

        3.    Preliminary Deposition Schedule. The Parties shall meet and confer

regarding a schedule for depositions to be conducted during the discovery period. No

individual shall be required to be deposed more than once.

        4.    Other Items

              a.     Protective Order. The Parties shall submit a proposed Protective

Order on or before April 30, 2024.




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              b.       Stipulations. The Parties shall submit a proposed Stipulated Order

regarding the Discovery of Electronically Stored Information on or before April 30, 2024.

The Parties may file other stipulated orders relating to remote depositions and expert

discovery as needed.

              c.       Deadline for Amendment of Pleadings. Pursuant to Fed. R. Civ. P.

15, the Parties may request leave to amend pleadings or add additional parties until July

19, 2024. Nothing in this Scheduling Order shall preclude the Parties from seeking leave

of court to amend pleadings after that date pursuant to Fed. R. Civ. P. 15.

              d.       Consent to Magistrate and Appointment of Special Master. The

Parties have not agreed to refer either Action to magistrate judge civil trial jurisdiction

under 28 U.S.C. § 636(c).

              e.       Confidential and sealed documents. The Court accepts and orders

the Alternative Proposal for motions to seal proposed by the parties in their April 15,

2024 Supplemental Joint Local Rule 5.5 Report.

              f.       Service By Email. Service of any documents not filed via ECF,

including pleadings, discovery requests, subpoenas for testimony or documents, expert

disclosure, and delivery of all correspondence, whether under seal or otherwise, shall be

by email to all attorneys for the receiving party then appearing on the ECF docket, at the

email addresses listed thereon. In the event the volume of served materials is too large for

email, the serving party may accomplish service using electronic data transfer by file

transfer protocol or a similar technology. For purposes of calculating response times


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under the Federal Rules of Civil Procedure, electronic delivery shall be treated the same

as hand delivery.

              g.     Document Subpoenas to Non-Parties. Any Party that serves a Rule

45 subpoena shall request that the recipient of the subpoena produce materials responsive

to the subpoena to all Parties. In the event that the non-party does not produce responsive

material to all Parties, the party that served a Rule 45 subpoena shall produce a copy of

all materials that the non-party produces in response to that Rule 45 subpoena to all other

Parties within five (5) business days after receipt of the materials from the non-party.

              h.     Privilege Logs. Privilege logs shall be produced in accordance with

the schedule at Exhibit A.



SO ORDERED.




Dated:                                            _________________________________
                                                  UNITED STATES DISTRICT JUDGE




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                                         EXHIBIT A
                                         Case Schedule

                          Event                                           Date

    Discovery Begins                                     April 18, 2024


    Rule 26(a)(1) Initial Disclosures                    April 19, 2024

    Deadline for all Parties to agree, or else for    April 30, 2024
    parties to move, on proposed protective order and
    ESI protocol

    Deadline for Plaintiffs to produce investigative     14 days after entry of protective
    file(s) to Defendants                                order

    Deadline for Parties to propound Requests for        45 days after the Plaintiffs’
    Production1                                          production of the investigative
                                                         file(s)

    Deadline for Parties to propose custodians and       30 days after service of Requests
    search or TAR protocols                              for Production

    Deadline for Amendment of Pleadings                  July 19, 2024

    Deadline for Parties to agree or to move to          60 days after service of Requests
    compel on custodians and search or TAR               for Production
    protocols




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 The Parties shall endeavor to serve comprehensive Requests for Production by this date,
but this deadline shall not apply to, nor is it intended to preclude, discrete, additional
requests served at a reasonable later date within the fact discovery period. The requesting
Party shall articulate its good faith basis for making any such supplemental request(s) at
the time of service. The Parties shall produce documents responsive to Requests for
Production on a rolling basis.

This deadline shall not apply to non-party subpoenas under Fed. R. Civ. P. 45.


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                      Event                                            Date

Deadline for all Parties to substantially complete January 22, 2025
the production of data and documents in response
to all Requests for Production received by the
deadline to propound Requests for Production
(45 days after Plaintiffs’ production of the
investigative file(s))

Deadline for all Parties to provide privilege logs    February 21, 2025

Deadline for all Parties to notice fact depositions   February 21, 2025

Close of Fact Discovery                               April 22, 2025

Expert Reports on Plaintiff’s Claims and on           June 6, 2025
Counterclaims and Affirmative Defenses as to
which Defendants Bear the Burden of Proof

Plaintiffs’ and Defendants’ Rebuttal Expert           August 5, 2025
Reports

Plaintiffs’ and Defendants’ Reply Expert Reports September 4, 2025

Close of Expert Discovery                             October 2, 2025

Parties to Conclude Mediation                         October 2, 2025

Last day to file Summary Judgment and Daubert         November 18, 2025
Motions

Summary Judgment and Daubert Oppositions              January 23, 2026

Summary Judgment and Daubert Replies                  February 20, 2026




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